Case 1:18-cv-00872-LO-|DD Document 1-3 Filed 07/13/18 Page 1 of 2 Page|D# 39

David Laing '

From: Corcoran, Fran|< <Frank.M.Corcoran@ice.dhs.gov>
Sent: Friday, lu|y 6, 2018 6:14 AM

To: y David Laing

Subject: RE: Ju|io Sanchez Acosta - A209 225 933

|CE-ERO Washington policy is to hold IVlr. Sanchez for the entirety of the removal period.
The removal period is 90 days from order of removal.

From: David Laing [mai|to:david@caircoalition.org]
Sent: Thursday, July 5, 2018 2153 P|Vl

To: Corcoran, Frank <Frank.|V|.Corcoran@ice.dhs.gov>
Subject: Ju|io Sanchez Acosta - A209 225 933

Dear Deportation Officer Corcoran:

|'m emai|ing you in reference to my client N|r. Ju|io Sanchez Acosta (A209 225 933). Please find attached my G-
28 notice of appearance as his attorney.

lV|r. Sanchez Acosta received a grant of withholding from removal to El Salvador from immigration Judge l
Hladylowycz on lViay 15, 2018. lVlr. Sanchez Acosta remains in immigration detention at |CA-Farmville as of

today.

Please provide the following information regarding lVlr. Sanchez Acosta’s detention and possible remova|:

f
1. ls there a scheduled date for l\/[r. Sanchez Acosta's release from detention?
a. |fthere is a scheduled date for |V|r. 5a nchez Acosta’s release from detention, what is that

date?
2. Are you evaluating third countries for lVir. Sanchez Acosta’s possible removal?

a. |f you are, what are those countries?
b. Has |CE received any indication that any third country would accept lVlr. Sanchez’s removal

to that country?
c. |f you have received any indication that any third country will accept |Vlr. Sanchez’s remova|,
what is the country?

Please call me if it's easier to discuss this by phone.

Thanl< you in advance for your prompt response to these questions.

Sincerely,

David J. Laing

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David .l. Laing | Senior Counse|, |mmigration |mpact Lab

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